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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


     DEADRIA FARMER-PAELLMANN
     and RESTITUTION STUDY GROUP, on
     behalf of themselves and all others
     similarly situated,                                     EMERGENCY MOTION

                       Plaintiffs,

             v.                                              Civil Action No. 1:22-cv-3048
                                                             ORAL ARGUMENT REQUESTED
     SMITHSONIAN INSTITUTION,

                       Defendant.



         REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
        EMERGENCY TEMPORARY RESTRAINING ORDER AND PRELIMINARY
      INJUNCTION AND IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

          Plaintiffs, by and through counsel, submit the following in reply to Defendant’s

 opposition memorandum and in opposition to its Motion to Dismiss:

I.        INTRODUCTION

          Plaintiffs have timely filed this case and they have clear standing to sue. Defendant’s

 claim that this case should be dismissed for failure to state a claim fails as a matter of law.

 Defendant can point to no authority under its trust charter or any enabling statute for the action it

 has taken in gratuitously transferring title to objects held in trust for the United States to a third

 party which is not a trust beneficiary. Plaintiffs’ Complaint notes the ultra vires nature of

 Defendant’s action and states claims for unjust enrichment and violation of a federal statute.

 Their motion should be granted and Defendant’s motion to dismiss denied.



                                     ***EMERGENCY MOTION***
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II.      ARGUMENT

         A.      This Case Was Timely Filed

         In Defendant’s customary posture of seeking to hold itself unaccountable for any of its

  decisions or actions, the Smithsonian Institution claims that this case has been filed too late

  because its Board of Regents decided to transfer the Benin Bronzes on June 13, 2022.

  Undoubtedly, had Plaintiffs filed this case on June 14, Defendant would have claimed that the

  filing was premature, since (as documented in the Declaration of Deadria Farmer-Paellman,

  attached to the Motion (“Dec.”)), the Smithsonian Institution’s Director of the National Museum

  of African Art, Ms. Blankenberg, was discussing with Plaintiff Farmer-Paellman potential ways

  in which Plaintiffs might have a say in Defendant’s choices around the Benin Bronzes. Or

  Defendant would have claimed that an action filed on June 14 was itself too delayed, since

  Plaintiffs had been aware of Defendant’s intentions with regard to the Benin Bronzes since late

  2021 when the Smithsonian Institution first noted that it was deaccessioning (removing from

  display) the works and discussing a return with Nigeria. The fact remains that it was not until

  October 6 that Defendant communicated what the Smithsonian Institution itself called “its

  decision” to Plaintiffs. The argument that the filing is too late or untimely is without merit.

         B.      Plaintiffs Have Standing to Sue in This Matter

         Plaintiffs have standing to sue the Smithsonian Institution in this matter. To establish

  standing, a party must establish three elements: (1) an injury in fact that is “concrete and

  particularized” and that is “actual or imminent” as opposed to “conjectural or hypothetical”; (2)

  the injury must be “fairly traceable” to the conduct that is the subject of the lawsuit; and (3) a

  decision in plaintiff’s favor must be likely to provide an adequate remedy. Star Scientific Inc. v.

  Beales, 278 F.3d 339, 358 (4th Cir. 2002).




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       In the absence of an order prohibiting Defendant from transferring Benin Bronzes to

Nigeria, Plaintiffs will suffer irreparable harm through the loss of access to these objects.

Arguably, the Smithsonian Institution could be sued by any United States citizen because it acts

as a trustee of the nation’s cultural and historical artifacts on behalf of all Americans. Here,

however, the injury caused by the Smithsonian Institution’s transfer of the Benin Bronzes to

Nigeria is different for Plaintiffs because they belong to the class of Americans whose history

and culture is most uniquely entwined with the Benin Bronzes. As set forth in the Farmer-

Paellmann Declaration, Dec. ¶¶ 2-3, Plaintiffs’ ancestors were sold by the Kingdom of Benin

during the Transatlantic slave trade in exchange for manillas that were melted down by the Benin

monarchy and used in the fabrication of the Benin Bronzes. Plaintiffs constitute an identifiable

class of people whose injury is concrete, particularized, and unique to them. Their injury as a

result of Defendant’s actions is imminent and not theoretical. Defendant signed an agreement

with Nigeria on October 11, 2022 to effectuate the transfer in less than one week, on October 17,

2022. This agreement was signed four days after the Smithsonian Institution was notified of the

existence of this lawsuit and provided copies of the Complaint, Summons, and Motion papers.

Once the transfer takes place, the Benin Bronzes will be moved beyond the jurisdiction of this

Court. If relief is not granted now, there is no remedy this Court can fashion that would restore

the artifacts to the possession of the Smithsonian Institution or any other museum or institution

in the United States, where Plaintiffs are located. While Defendant claims that no “irreparable

harm” will take place if the transfer of the Benin Bronzes goes through, the fact remains that the

museum where they are to be displayed does not yet exist, Nigeria’s history of dealing with its

own cultural artifacts (including the Benin Bronzes, where a former head of state took one of




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them out of Nigeria’s national museum and re-gifted it to the Queen of England)1 has been

fraught. Furthermore, the fact that the Oba and royal family of Benin currently (and correctly)

believe these objects to be their personal property, and the Smithsonian Institution’s own lack of

standing to enforce any agreement or condition of care that it might have included in its

agreement with Nigeria, all indicate that a transfer will be irrevocable and constitute irreparable

harm.

         The injuries Plaintiffs stand to suffer is directly due to the conduct by the Defendant—

namely, deciding to transfer title to 29 Benin Bronzes to Nigeria without consulting Plaintiffs,

whose ancestors’ freedom, health, and very lives were exchanged for the metal that went into

constructing the Benin Bronzes.

        A decision in favor of the Plaintiffs, as requested in the Complaint and the Motion, will

provide an “adequate remedy” to address Plaintiffs’ issues. Specifically, Plaintiffs seek to enjoin

the transfer of ownership to Nigeria and to require the Smithsonian Institution to consult with

Plaintiffs about how to address the complete history of these artifacts, their role in the slave

trade, and to create programs in consultation with Plaintiffs that will allow this history to be

communicated and understood by this and future generations of descendants of enslaved people.

Accordingly, Plaintiffs have standing to sue the Smithsonian Institution in this matter.




1
  See, e.g., David Frum, Who Benefits When Western Museums Return Looted Art?, THE
ATLANTIC (Sep. 14, 2022), https://www.theatlantic.com/magazine/archive/2022/10/benin-
bronzes-nigeria-return-stolen-art/671245/ (note that this example is from 1973, almost fifty years
ago, and under a different government but, as the article notes, even today there is an ongoing
struggle between Nigeria’s federal government and Nigerian states such as Edo (which
encompasses the former Kingdom of Benin) about control over valuable cultural artifacts).


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       C.      The Smithsonian Institution is a Government Corporation Chartered to
               Operate as a Trust with Limited Powers

       A short perusal of the relevant cases yields the not-so-surprising insight that the

Smithsonian Institution consistently claims for itself any and all benefits accorded to federal

government agencies, all the while disclaiming any of the inherent limitations that serve to keep

federal agencies accountable for their actions and decisions. This is truly a case of “having your

cake and eating it too,” and Defendant’s posture in the present matter is in line with this

historical approach. Such consistency, however, does not mean that the approach merits

endorsement in this case, as explained in greater detail below.

               1.      The Smithsonian Institution is a Government Corporation Created to
                       Function as a Trust that Holds Assets of the United States

       The Congress and President incorporated the Smithsonian Institution in 1846 by private

act.2 An Act to Establish the Smithsonian Institution, for the Increase and Diffusion of

knowledge Among Men, 9 Stat. 102 (Aug. 10, 1846) (“Act of Establishment”). As such, the

Smithsonian Institution is a “government corporation.” In terms of creation, corporations are

fictional bodies that governments create, either by a specifically enacted “establishment statute”

or by general enabling statute. The term “government corporation” in Title 5 implicitly refers to

a corporation that the United States government created.




2
  A “private act” is one in which a legislature enacts a law that affects or is for the benefit of a
specific person or group. Until the late 1800s, corporations in the United States were formed by
private acts because states and the federal government lacked a general enabling statute for
forming corporations. See, e.g., Tyler Halloran, A Brief History of the Corporate Form and Why
it Matters, FORDHAM J. OF CORP. & FIN. LAW (Nov. 18, 2018),
https://news.law.fordham.edu/jcfl/2018/11/18/a-brief-history-of-the-corporate-form-and-why-it-
matters/.




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        The Act of Establishment provided that officers of the United States government,

originally including both the President and Vice President, were thereby “constituted, an

‘establishment’ by the name of the ‘Smithsonian Institution,’ and ... by that name shall be known

and have perpetual succession as to the powers, limitations, and restrictions, hereinafter

contained, and no other.” Id. § 1 (emphasis added). As has previously been noted, the

Smithsonian Institution was conceived as a trust instrumentality of the United States. O’Rourke

v. Smithsonian Institution Press and the Smithsonian Institution, 399 F.3d 113, 114 (2d Cir.

2005) (citing to a declaration filed by the Smithsonian Institution’s general counsel).

Accordingly, Congress conferred upon Defendant specific, limited powers as a corporation and

as a trust.

        The core function of the Smithsonian Institution, through the decision-making of its

Board of Regents, is to receive, maintain, and hold the assets of the trust, and not to dissipate

such assets. In addition to the explicit language in the Act of Establishment, the basic structure of

the Smithsonian Institution reveals it to be a trust. A trust exists when a settlor exhibits an intent

to create a trust, with a trust charter organizing the trust, providing authority to the trustee,

delineating the powers and limitations on the trustee’s authority, designating the corpus of the

trust, and defining its beneficiaries. See, e.g., Begier v. I.R.S., 496 U.S. 53, 62 (1990); He Depu v.

Yahoo! Inc., 950 F.3d 897, 901-02 (D.C. Cir. 2020). Congress, as settlor, intended to create the

Smithsonian Institution as a trust, and its charter is found in the Act of Establishment, as it has

been amended since enactment. See 20 U.S.C. § 41.

        Defendant’s self-perception differs from its charter. “The Smithsonian perceives itself ...

[as] a charitable trust for the benefit of humankind whose trustee is the United States.” Letter for

Douglas W. Kmiec, Deputy Assistant Attorney General, Office of Legal Counsel, from Peter G.




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Powers, General Counsel, Smithsonian Institution at 1 (Apr. 10, 1987) (quoting 20 U.S.C. § 41)

(“Powers Letter”). This contradicts the very language of the Act of Establishment. That

document stated that James Smithson, of London, had:

       by his last will and testament given the whole of his property to the United States
       of America, to found at Washington, DC, under the name of the “Smithsonian
       Institution,” an establishment for the increase and diffusion of knowledge among
       men and the United States having, by an act of Congress, received said property
       and accepted said trust; therefore, for the faithful execution of said trust,
       according to the will of the liberal and enlightened donor—

Congress enacted the Act of Establishment. Act of Establishment, § 1. Smithson clearly “gave”

all of his property to the United States which then, via Congress as settlor, placed the trust

property into a trustee’s care. The Smithsonian Institution and its Board of Regents, not the

United States, act as trustee. The trust’s purpose, to increase and diffuse knowledge among men,

does not empower the trustee to dissipate trust assets, which remain the property of the United

States. While humankind might broadly benefit from the Smithsonian Institution’s mission to

increase and diffuse knowledge, when focusing on the corpus of the trust, title to these assets is

held for the benefit of the people of the United States, not all of humankind. The assets might be

loaned out for display to other museums, including museums in other countries, but simply

transferring title to the assets of the trust, gratuitously and without consideration, is beyond any

authority conferred by the Act of Establishment.

               2.      The Congressionally Delegated Powers of the Smithsonian Institution
                       as a Corporation and the Board of Regents as Governors are
                       Enumerated in the Act of Establishment

       The legislative and executive branches established the Smithsonian Institution as a public

corporation by private act: the artificial “corporation” or “body” called the Smithsonian

Institution exists by government fiat subject to authorized powers and limitations. Specifically, to

administer the trust, the Government delegated governmental authority to the Smithsonian



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Institution:

        •      To hold legal title to the assets of the corpus in its name;

        •      To respect and honor the equitable title to the assets of the corpus of the beneficiary,

               the United States, and the beneficiaries, the citizens of the United States;

        •      To transact relative to the trust corpus:

               - To maintain or to increase the value of the trust assets and overall corpus in terms

                  of monetary value, market value, and cultural, historical, or art value;

               - To earn interest on its monetary assets3 (9 Stat. 102).;

               - To accept and receive donations of assets on behalf of the trust, including—

                  §    “The government has chosen to support the trust with substantial

                       appropriations and Federal property, largely in response to major benefactions

                       and collections from the private sector.” Powers Letter at 5.

                  §    To purchase assets on behalf of the trust; and

                  §    To exchange or sell assets on behalf of the trust for equal or increased

                       consideration.

See, generally, Act of Establishment.

                  3.      The Smithsonian Institution and the Board of Regents Lack
                          Corporate or Trust Authority to Dispose of Trust Assets Gratuitously

        Defendant and its Board of Regents have been granted specific statutory powers by

Congress concerning the core functions of operating the trust. The power to dispose of trust

assets is circumscribed. Specifically with respect to the National Museum of African Art



3
 From the beginning of its existence, Congress sought to increase the value of the corpus by
ensuring that the Smithsonian Institution earned interest on the bequest of James Smithson. 9
Stat. 102, § 2.


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(“Museum”), Defendant is permitted to “purchase, accept, borrow, or otherwise acquire

additional works of art or any other real or personal property for the Museum,” “preserve,

maintain, restore, display, loan, transfer, store, or otherwise hold any property of whatsoever

nature acquired pursuant to section 80k of this title,”4 and “subject to any limitations otherwise

expressly provided by law, and, in the case of any gift, subject to any applicable restrictions

under the terms of such gift, sell, exchange, or otherwise dispose of any property of whatsoever

nature acquired pursuant to the provisions of this subchapter: Provided, That the proceeds from

the sale of any property acquired pursuant to section 80k of this title shall be designated for the

benefit of the Museum.” 20 U.S.C. § 80m(a) (emphasis added). At least with respect to this

museum, Defendant’s powers over the disposition of the museum’s collection are circumscribed.

       In the context of Defendant’s authority as a governmental corporation and a trust, the

statutory grant of authority to dispose of any of the Museum’s assets does not extend to

gratuitously transferring trust assets without any benefit to the Museum. Any such purported

transfer lies beyond the authority granted to Defendant. Unless the statute is interpreted to

prevent gifting of items in the museum’s collection, then there is nothing to prevent Defendant

from gifting the entire collection, not only of the Benin Bronzes, but any or all other components

of the collection.5 If the statute is interpreted in this manner, then the conclusion must be that

Congress intended that this be a possibility.


4
 The privately-held Museum of African Art’s assets and collection were donated to the
Smithsonian Institution, which used the donated assets to found its National Museum of African
Art. Section 80k authorized the Smithsonian Institution’s Board of Regents “to accept a deed or
other instrument donating and transferring to the Smithsonian Institution, the land and
improvements thereto, collections of works of art, and all other assets and property of the
Museum of African Art.” 20 U.S.C. § 80k.
5
  This, in fact, seems to be the actual position of the museum’s director, Ms. Blankenberg, who
told a reporter, “if our whole museum is based on stolen objects, then frankly we shouldn’t
exist.” Kelsey Ables, Smithsonian gives back 29 Benin bronzes to Nigeria: ‘We are not owners,’

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                 4.     The Smithsonian Institution Lacks Delegated Authority to Issue Rules

         The Smithsonian Institution is not a legislative entity to which Congress delegated

specific rule-making powers concerning its core functions. Congress has not granted Defendant

delegated authority to reduce the value of the trust by gifting assets of the United States. In the

Administrative Procedures Act (“APA”), Congress has granted executive agencies authority to

make rules concerning their core functions, typically administering specific federal laws.

         Defendant has repeatedly asserted that the APA does not apply to it and has made the

same assertion with respect to other laws that bind executive agencies, including the Privacy

Act6 and the Freedom of Information Act.7 At the same time, Defendant asserts that it is a federal

government entity for purposes of enjoying certain benefits and rights enjoyed by other federal

government entities, such as funding by U.S. taxpayers, immunity from state laws as a federal

government entity,8 employee immunity from lawsuits for alleged misconduct under federal

laws,9 and benefits under the Federal Property and Administrative Services Act.10




WASH. POST, Oct. 11, 2022, https://www.washingtonpost.com/arts-
entertainment/2022/10/11/smithsonian-benin-bronzes-nigeria/.
6
  See, e.g., Dong v. Smithsonian Inst., 125 F.3d 877, 879 (D.C. Cir. 1997) (holding that the
Smithsonian Institution is not an executive agency because it is neither a controlled government
corporation or independent establishment and because it lacks “governmental authority”); Dodge
v. Trustees of the National Gallery of Art, 326 F. Supp. 2d 1, 11 (D.D.C. 2004) (same).
7
    See, e.g., Cotton v. Heyman, 63 F.3d 1115 (D.C. Cir. 1995).
8
 Memorandum Opinion for the Assistant General Counsel Smithsonian Institution, Immunity of
Smithsonian Institution from State Insurance Laws, at __ (Apr. 25, 1997) (Exhibit __).
9
  See, e.g., Expeditions Unlimited Aquatic Enter., Inc. v. Smithsonian Institution, 566 F.2d 289,
291 (D.C. Cir. 1977); Genson v. Ripley, 681 F.2d 1240 (9th Cir.), cert, denied, 459 U.S. 937
(1982).
10
  See, Memorandum Opinion for the General Counsel of the General Services Administration,
The Status of the Smithsonian Institution Under the Federal Property and Administrative
Services Act, at 122 (June 30, 1988).


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          This pick-and-choose model for deciding when a beneficial federal law applies, and a

non-beneficial law does not apply, to the Smithsonian Institution relies on the obvious fiction

that Congress had a “separate intent” about any given federal statute enacted after 1846 as

applied to the Smithsonian Institution. Relying on this assumption, the test for each federal

statute is: (1) Did Congress “intend the applicable federal act to apply to the Smithsonian at all”

and (2) Did Congress intend that the Smithsonian be treated as an “executive agency” or “federal

agency” under the applicable federal act.11

          The Act of Establishment fails to provide any authority to engage in rulemaking. Since

Defendant claims not to be a federal executive agency under the APA, it is not entitled to engage

in rulemaking.

          Defendant has, nevertheless, created a rule absent any delegated or statutory authority.

Specifically, on April 29, 2022, the Smithsonian Institution created the “Shared Stewardship and

Ethical Return Policy.”12 This “ethical policy” is a rule authorizing the gratuitous disposal of

trust assets in violation of its limited powers under the trust charter. The Board of Regents, in

enacting its resolution to transfer the Benin Bronzes on June 13, 2022, relied on this policy.

Because the policy was enacted without authority, decisions based upon the policy are ultra vires

and should be voided.

          Moreover, if the Smithsonian Institution wishes to argue that, for the purposes of this

application of the APA it is a federal executive agency under that Act, Defendant failed to

comply with the APA’s requirements, including public notice and comment.


11
     Id. at 123-24.
12
  Smithsonian Institution, Shared Stewardship and Ethical Returns Policy (Apr. 29, 2022),
chrome-
extension://efaidnbmnnnibpcajpcglclefindmkaj/https://ncp.si.edu/sites/default/files/files/Ethical
%20Return%20Docs/shared-stewardship-ethical-returns-policy_4.29.2022.pdf


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III.      CONCLUSION

          For the foregoing reasons, Plaintiff respectfully requests that the Court grant their motion

   and enter a restraining order temporarily prohibiting removal of the Benin bronzes from the

   Smithsonian Institution and the United States until such time as the claims in this lawsuit have

   been adjudicated and also to deny Defendant’s Motion to Dismiss.



   Dated: October 14, 2022                          /s/ Adriaen M. Morse Jr.
                                                    Adriaen M. Morse Jr. (DC Bar No. 483347)
                                                    Cory Kirchert (D.C. Bar No. Pending)
                                                    Lionel André (D.C. Bar No. 422534)
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                                                    Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 14, 2022, I filed a copy of the foregoing Reply

Memorandum in Support of Plaintiff’s Motion for Emergency Temporary Restraining Order and

Preliminary Injunction and in Opposition to Defendant’s Motion to Dismiss with the Court via

ECF, which operates to effect service on counsel for all parties who have entered an appearance.



                                                   /s/ Adriaen M. Morse Jr.
                                                Adriaen M. Morse Jr.




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